 

Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 1 of 50

C-5149-14-H

  
  

 

 

 

§ ‘L For a Ch in Services of the Archltect’s consultants compensation shall be computed ss a multiple 'of
an&h_( Llll_) times the amounts billed to the Architect for such services

5 1.5.4 For Relmvm'ssble Expeoses ss described tn Secttoo 1.3.9.2, and any other items lncluded in Sectlon 1.5.5 as
Reimb\n'sable Expenses, the compensstloo shall be computed as a nntltlpls of _Qne_sngMnth_( 1,],1]_) times the
expenses inclined by the Architcet, end the Archltect’s employees sod conmtltants.

sAoE 1a

§ 1.5.1' An initial payment of Zgg_mumm;o_g`gng_($ gLQQ_) shall be made upon execution of this
Agreemeot and is the minimum payment under this Ag:eemeot. lt shall be omitted to the Owner’s account atflnsl
payman Subsequcnt payments for services shallhe made monthly, and where sppllcable. shall be in proportion to
services performed on the basis set north in this Agceeo:ent.

§ 1.5.8 Psymeuts.are due end payable IL\}LL( 30_) days from the date of the Atchitect’s invoice Amoonts unpaid

IUJIL( §Q_} days siler the invoice date shall beer interest st the rate entered below, or in the absence thereof st the
legal mteprevslljng from time to time at the principal place of business ofthe Azchitect.

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Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 2 of 50

C-5149-14-H

 

§ 1.5.9 ll the services covered by this Agrecment have not been completed within T_hmg;sj_;___( B_) months of
the date hereof, through no fault of the Aschitect, extension_of the Architect's services beyond that time shall be
compensated ss provided in Sectlon 1.5.2.

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Case 7:15-cv-00465 Document 1-14 Filed in TXSD on 11/06/15 Page 3 of 50

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attached final document simultaneously with its associated Additions and Deletlons Report and this certification at
13: 40:33 on 12/18/2008 under Order No 1000370781_ 1 hom AIA Contract Docl.\ments software and thatin
preparing the attached final document I made no changes to the original text of AIA° Dooument Bl4lm- 1997 Pnrt
1 Standard Form of Agreement Between Owner and Archltect with Standard Form of Architcct‘ s Services,as
published by the AlA’ m its softsr`sre, other than those additions `t`md deletions shown' m the associated Additlons and
Deletions Report.

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Case 7:15-cv-00465 Document 1-14 Filed in TXSD on 11/06/15 Page 4 of 50

$AIA Docur:t;;:tm:B-*:i 41"' - 1097 Part 2

Standard Form ofArchr'toct's Services: Design and Cor_rtnect Administrstion

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2.4 DES|GN SERVlCES information as well se revisions to

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2.9 MODIF|CATIONS consequences Oon:?r?.tntion wiigr en
attorney is encouraged with respect

ARTICLE ?_‘l PRUJECT ADNIIIS'I'RATIDN SERWCEB ' to itc completion cr modiiloaiion.

§ 2.1.1 The Arci:titccl shell manage the Architcct’a services and administer thc Projcct.
'l`he Architect shall consult with the chsr. research applicable design criteris, attend
Project meetings communicate with members of thc P‘rojoct team and issue progress
reports 'l"he Anohitect shall coordinate the services provided by the Architcct and the
Archul:oct‘s consultants with those services provided by the Owner and the Owoer's
cons tants.

§ 2.1.2 When Pro_loct requirements have been sufficiently identified the Archltoct shall
prepam, and periodically update, c Froject schedule that shall identify milestone dates for
decisions required of the Owner, design services finished by the Architcct,-'complction
of documentation provided by tire Arcl:ltect, commenceth of construction and
Substanu’al Complstion oftho Wortt.

§ 2.1.3 The Architect shall consider thc value of alternative materials building systems
and equipment together with other consltkrations based on program budget and
aesthetics in developing the design for the Projoct.

§ 2.1.4 Upoo request of the Owner. the Architect shall make s presentation to explain the
design of the Projcct to representatives of the Owrtor.

§ 2.1.5 'I'h'e Archilcct shall submit design documents to the Owne‘r at intervals appropriate
to the design process forpurposes of evaluation and approval by the Owner. The
Arohitoct shall be entitled to rely on approvals received from the Owner in the further
development of the design '

§ 2.1.6 Ths Arr:hitcct shall assist the Owner in connection with the Ownor’s responsiwa
for illlng documents required for thc approval of governmental authorities having
jurisdiction over the Proje_ct.

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Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 5 of 50

C-5149-14-H

§ 2.1.7 EVALUAT|ON OF BUDBE|' AND COST OF THEWORK

§ ?:1.?.1 When the Project requirements have been sufficiently identified the Architect shall prepare a preliminary
esmnale of the Ccst of the Worlr. 'l'his estimate maybe based _on current area1 volume or similar conceptual
estimating techniques As the design process progresses through the end of the preparation of the Constrnction .
Docnments, the Architect shall update and refine the preliminary estimate of the Cost of the Work. The Architect
shell advise the Owner of any sdjusunents to previous estimates of the Cost of the Work indicated by changes in
Project requirements or general market conditions If at any time the Architect’s estimate of the Cost of the Work
exceeds the Owner’s budget the Architect shell make appropriate recommendations to the Owner to adjust the
iject's siee, quality or budget and the Owuer shall cooperate with the Architect in making such adjustments

§ 2.1.?.2 Evaluations of the Owner’s budget for the Project, the preliminary estimate of the Cost of the Work and
updated estimates of the Cost of the Work prepared by theArchitect represent the Archltect’s judgment as a design
professional familitu' with the construction industry. lt is reeognized, however, that neither the Archltect nor the
Owner has control over the cost of iabor, materials or equipment over the Contractor's methods of detennining bid
prices, or over competitive bidding, market or negotiating conditions Aceordingty, the Architect cannot and does
not warrant or represent that bids or negotiated prices will not vary from the Owner’s budget for the Project or from
any estimate of the Cost of the Worlr or evaluation prepared or agreed to by the Arohit:ect.

§ 2.1.?.3 In preparing estimates of the _Q_ost of the Work, the Archltect shall be permitted to include contingencies for

l design bidding and price eacalatlon; to determine what msterla]s, equipmentl component systems and types of
construction are to be included in the Contract Docuntents; to make reasonable adjustments in the scope of the
Pmlwt and to meade in the contract easements nurses bids ss may be necessary te adjust ute seamen cost or
the Worlr to meet the Owner's budget tier tile Cost of the Work. If an increase in the Contract Snm occurring after
execution of the Conn'act between the Owner and the Contractor causes the budget for the Cost of the Work to be
exceedcd, that budget shall be increased accordingly ` -

s st.rsrrbtaetng emanating has not commences wang so says user as erosion submits ute construction
Documeutsto the Ovmer, the budget for the Cost cf the Work shall be adjusted to reflect changes in the general
level of prices in the construction industry. "

§ 2.1.1.5 Ifthe budget for the Colt of the Work is exceeded by the lowest bona fide bid or negotiated proposal, me
Owner sbal|: .

.1 give written approval of an increase in the budget for the Cost of the Work:

.2 authorize nebidding or renegotiatin¢ of the Project within a reasonable time;

.3 terminate in accordance with Sectlon 1.3.8.5; cr

.4 cooperate in revising the Project scope and quality as required to reduce the Cost of the Work.

§ 2.1.?.6 Ifthe Ownercbooses to proceed under Section 2.1.7.5.4. the Architect, without additional compensation
shall nrcdil’y the documents for which the Architect ls responsible under this Agreement ns necessary to complyr with
the budget for the Costof the Woa'k. The modification Oi` such documents shall be the limit of the Architect‘s
responsibility under this Sectioo 2.1.7. The Amhitect shall be entitled to compensation in accordance with this
Agroement for all services performed whether or not construction is commenced

AttTchE 2.2 suPPonTtue ssavtc_Es - `
§ 2.2.1 Uoless specianlly designated ln Seotion 2.8.3, the services in this Article 2.2 shall be provided by the Owner
or the Owucr's consultants and contractors ~

§ mm rue owner smu sense a program seeing forth ute owners objectives schedule nonunion ann mens
including space requirements andrelationshipe, special equipment systems and site requirements

§ 2.2.1.2 ’l‘he Owner shall turnisb surveys to describe physical characteristics legal limitations and utility locations
for the site of theProject, and n uniden legal description ofthe site. The surveys and legal information shall include,
us til:\plit=li°llleq grades and lines of stx'eets, alleys, pavements and adjoining property and structures; adjacent drainage;
iights-o£-way, restrictions easements, eucroao'hments, zoning. deed restrictions boundaries and contours of the site;
locations d`mensions and necessary data with respect to existing buildings other improvements and trees; and

 

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Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 6 of 50

C-5149-14-H

information concerning available utility services and liuu, both public and private. above andbelow grade,
ml“ding iuverts and deptbs. All the information on the survey shall be referenced to a Project benchmark.

§ 2.2.1.3 'l'he Owner shall finnislr services of geotechnical engineers which may include but are not limited to test
borings. test plts. determinations of soil bearing values. percelstion tests, evaluations of hazardous sanctionsl ground
corrosion team end resistivity tests, including necessary operations for anticipating subsoil conditions with reports
and appropriate recommendations

ARTICLE 2.3 BIALUATION AND FLANN|NG SERVICES

§ 2.3.1 'l'hc Architect shall provide a preliminary evaluation of the information furnished by the Ownes under this
Agreomeut, including the Owner's program and schedule requirements and budget for-the Cost of the Work, each in
terms of the other. 'I`he Arohitect shall review such information to ascertain that it is consistent with the requirements
of the Pf°.l'ect and shall notify the Owoer of any other lofonnntlon or consultant services that may be reasonably
needed for tire Project.

§ 2.3.2 'l`he mhttect shall provide a preliminary evaluation of the Owner"s site for the Project based on the
it;formation provided by the Dwner of site conditions and the Owner’s progrum, schedule and budget for the Cos_t
o the Work.

§ 213 'l`he Architecl shall review the Owner’s proposed method of contracting for construction services and shall '
notify the Owner of anticipated impacts that such method may have on the Owner’s progrnm, financial end time
reqtnrements, and the scope of the Project.

ARTICLE 2.4 DESIGN SERVICES
§ 2.4.1 The Architect’s design services shall include normal su'uctural, mechanical and electrical engineering
services - '

§ 2.4.2 SCHEMA‘l'lC DESlGN BOCUMENTS .

§ md TheAmhitect shall provide Schec:nalic Deaign Documznts based on the mutually agreed-upon ptogflm,
schedule, and budget for the Cost of the Worit. The document shall establish the conceptual design ofthe Pioject
illustrating the scale andreletionship of the Project components 'I'be Schematlc Design Documeots shall include a
conceptual site plan, ifepproprisce, end preliminary building plaos. sections and elevations. At the Architect's
option, the Schematic Design Documents may include study models, perspective sketches, electronic modeling or
combinations of these modis. Preliminary selections of major building systems and construction materials shall be
noted on the drawings or described in writing.

§ 24.3 DES|GN DEVELOPMENT DOC|IMEN'|‘S

§ 2.4.3.1 The Architect stoll provide Deslgn De'velopment Documents based on the approved Schematic Design
Documents end updated budget for the Cost of the Work. The Design Development Documents shall illustrate and
describe the refinement of the design of the Project, establishing the scopo, relationshipl, forn.'ls, size and appearance
of the l?roject by means ofplam, sections and elovations, typical construction details, and equipment layouts. The
Design Development Documents shall include specifications that identify major materials and systems and establish
in general their quality lovois.

§ 2.4.4 CQNBTRUC`|'ION DOC\|HENTS `

§ 2.4.4.1 The Architectshall provide Coostructlon Docnments based on the approved Design Development
Documonts and updated budget for the Cost of the Work. Thc Conslrucl.ion Do`cnments shall set forth in detail the
requirements for commotion of the Pcojeet. The Construction Documents shall include Drawings and
Speoiflcatious that establish in detail the qualityf levels of materials end systems required for the iject.

§ 2.4.4.2 During the development of the Construetion Dccuments, the Arcbiwct shall assist the Owner in the
development and preparation of: (1] bidding and procurement information which describes the time, place and
conditions ofbidding; bidding orproposal fonns: end the form of_agreement between the Owner and the Coniracwr;
and (2] the Conditionl of the Contmct for Constrnotiou (General, Sopplementary end other Conditions). The
Architect also shall compile the Pro}ect Manusl that includes the Conditions of the Contract for Construction md
Speclfications end may include bidding requirements and ample forms ~ '

 

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Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 7 of 50

C-5149-14-H

ARTlCLE 2.5 CONSTRUCT|ON PROCUREIBENT SERV|CES l
§ 2.5.1 'I`ho Arcbitect shall assist lite Owner in obtaining either competitive bids or negotiated proposals and shall
assist the tlwner in awarding and preparing contracts for construction

§ 2.5.2 The Architect shall assist the Owner in establishing a list of prospective bidders or contractors

§ 253 'I'he Archiiect shall assist the Owner in bid validation or proposal evaluation and determination of the
successful bid orproposal, if any. If requested by the Owner, the Architect shall notify all prospective bidders or
contractors cf the bid or proposal results. ` '

§ 25.4 COMPE|T|'|VE BlDDlNG
§ 2.5.4\.1 Bidding Documents shall consist of bidding requirements proposed contract forms, General Condidons and `
Sdpplementary Conditions, Specifications and Drawings. `

§ 25.4.2 Ifxoquested by the Owner, the Architect shall arrange for procm~ing the reproduction of Bidding Documeuts
lior distribution to prospective bidders. The Owner shall pay directly for the coat of reproduction or shall reimburse
the Arobitect for such expenses

§ 25.4.3 If requested by the Owncr, the Architect shall distribute the Bidding Docunients to prospective bidders and
request their return upon completion ,of the bidding process The Archltect shall maintain a log of distribution and
reo-levai, and the amounts ofdeposirs, if any, received from andrearrncd to prospective bidders

§ 2.5.4.4 The Architect shall consider requests for substitutions if permitted by the Bidding Documents, and shall
prepare and distribute addenda identifying approved substitutions to`cll prospective bidders

§ 2.5.4.5 The Architect shall parlicipane in or, at the Owner’s direction shall organize and conduct a pre-bid
conference for prospective bidders

§ zs.r.a res manner sent propane responses to questions sam prospective bidders ana provide clarification and
interpretations of the Bldding Documents to ali prospective bidders in the form.of addenda

§ 2.5.4.? The Arcbitect shall participate in or, at the Owner’s direction, shall organize and conduct the opening of tire
bids. The Arcbitect shall subsequently document and distribute the bidding results, as directed by the Dwner.

§ 2.5.5 NEGDTlATED PROFOS_ALB
§ 2.5.5.1 P‘.ropcsal Documents shall consist of proposal requirements proposed contract forms, General Conditions
and Snpplcmentary Conditions, Speoifications and Drandogs.

§ 25.$.1 Ifreqnested by the Gwner. the Architect shall arrange for procuring the reproduction of Proposai
Documsnts for distribution to prospective conductors The Ownar shall pay directly for the cost of reproduction or
shall reimburse-the Arcbltect iior such expenses '

§ 25.5.3 If requested by the Owncr, the Architect shall organize and participate in selection interviews with
prospective contractors

§ 25.5.4 'I'he Arcbitact shall consider requests for subsdmtions. if permitted by the Proposal Documents.` and shall
prepare anddisuibute addenda identifying approved substitutions to all prospective contractors

§2.5.5.5 If requested by the Owner, the Architect shall assist the Ownec during negotiations with prospective
contractors The Architect shall subsequently prepare a summary report of the negotiation rasults, as directed by the
Orvner.

ART|CLE 2.6 CONTRAC|' ADM|N|STRATION BERVlCES

§ 2.6.1 GENERAL ADMINISTRATION

l 2.6.1.1 'I`he Architect shall provide administration of the Ccntract between the Owner and the Contrnctor as set
forth below audio the edition ofAIA Docmnent Aztil, General Conditions of the Contract for Construction, current
as of the date of this Agreenrent. Modilieationa made to the General Conditioos. when adopted as part of the

 

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Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 8 of 50

C-5149-14-H

comes easements than he enforceable assn ran Agreem¢m only to ute extent that they are consistent with this
Agreement or approved in writing by the Archihect. `

§ 2.6.1_.2 The Architect’s responsibility to provide the Con|:ract Administratlon Services under this Agreem.ent

_ commences with the award of the initial Contmct for Construction and terminates at the issuance to the Owner of the

final Certiflcate for Paymeut. However, the Architect shall be entitled to a Change in Services in accordance with
§;cti;n 2.8.2 when Contract Admi.nistratioo Scrvices extend 60 days after the date of Substantial Complet:ion of the
or .

§ 2.6.1.3 'l'he Architeet shall be a representative of and shall advise and consult with the Owner during the provision
of the Contract Adminislzation Services. The Architect shall have authority to acton behalf of the Owner only to the
extent provided in this harassment unless otherwise modified by written amendment

§ 2.6.1.4 Duties, responsibilities and limitations of authority of the Architect under this Article 2.6 shall not be
resh'toted, modified or extended without written agreement of the Owner and Architect with consent of the
Contractor, which consent will not be unreasonably withheld

§ 2.!.1.5 Thc Architect shall review properly prepared, timely requests by the Conu'aosor for additional information
about the Contract Docnments. A properly prepared request for additional information about the Contract
Documents shall he in a form prepared or approved by the Architect and shall include a detailed written statement
that ind.i§.ates the specific Drawings or Specllications in need of elimination and the name of the cloriiication
request

§ 2.6.1.6 If deemed appropriate by the Arcbitect, the Architect shall on the Owner's behalf prepare, reproduce and
distribute supplemental Drawings and Specificntlcns in response to requests for information by the Contractor.

§ 2.8.1.1’ 'l‘he Arcbitect shall interpret and decide matters concerning performance of the Owner and Contractor
under, and requirements of, the Conlract Documents on written request of either the Owner or Contractor. 'l`he
Architect’s response to such requests shall be made in writing within any time limits agreed upon or otherwise with
reasonable promptness

§ 2.6.1.8 lonerpretations and decisions of the Archltect shall be consistent with the intent of and reasonably inferable
from the Conu‘aot Dccnments and shall hein writing or in the form of drawings Wben making such interpretations
and initial dacisions, the Architect shall endeavor to secure faithful performance by both Owner and Comrsctor.
sha.lld gott:how partiality to either, and shall not be liable for the results of interpretations or decisions so rendered in
go ai .

§2.6.1.9 The Architect shall render initial decisions on olaisns, disputes or other matters in question between the
Dwner and Contrector as provided in the Contract Docurnents. However, the Architect's decisions on matters
relating to aesthetic effect shall he final if consistent with the intent expressed in the Contract Documents.

§ 2.5.2 EVALUATIONS OF THE WDRK

§ ?.¢.2.1 'I'ha Architect. as n representative of the Owner. shall visit the site at intervals appropriate to the stage of the
Contractor’s operations or as otherwise agreed by the Owner andthe mhttect in Artlcle 2.8, (l) to become
generally familiar with and to keep the Owner inliormed about the progress and quality of the portion of the Worlt

- completed, (Z)to endeavorto guard the Owner against defects and dellciencies in the Work. cud(il) to dehn'mine in

general if the Work ls being performed in s manner indicating that the Worlr, when fully completed will be in _

` accordance with the Contraet Documents. However, the Architect shall not be required to make exhaustive or

continuous ors-site inspections to check the quality or quantity of the Worlt. The Architcct shall neither have control
over or charge cf, nor be responsible lior, the construction mearts. methods, techniques, sequences or procedures. or
for safety precautions and programs in connection with the Worlr, since mere are solely the Cootrnctor*s rights and
responsibilities under the Contract Docnments. .

§ 2.6.2.2 The Archltect shall report to-the Owner known deviations from the Contract Documents andfrom the most
recent construction schedule submitted by the Cooh'octor. However, the Architect shall not he responsible for the
Contrector's failure to perform the Wcrlr in accordance with the requirements oft.he Conl.rsct Ilocuments. The
Archltect shall be responsible for the Architect’s negligent acts or omissions, but shell not have control over or

 

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C-5149-14-H

charge of and shalloot be responsible for acts or omissions ot` the Contractor, Subcontractors. or their agents or
employees, or of any other persons or entities performing portions of the Worlt, `

§ 2.6.2.3 The Arclritect shall at all times have access to the Work wherever lt is in preparation or progress

§ 2.8.2.4 Except as otherwise provided to this Agrcement or when direct communications have been specially
authorized the Owner shell endeavor to communicate with the Contractor through the Archltect about matters
arising outof or'relating to the Contraet Documents. Communicatious by and with the Architect's consultants shall
be through the Architect. `

§ 2-5.2.5 The Architect shall have authority to reject Work that does not conform to the Cont:ract Documenta
Whenever the Architect considers it necessary or advisable the Architect will have authority to require inspection or
testing of the Work in accordance with the provisions of the Contract Documenls, whether or not such Work is

' fabricated installed or completed liowever, neither this authority of the Architect nor a decision made in good faith
either to exercise or not to exercise such authority shell give rise to a duty or responsibility of the Architect to the
COWHC!D!. Suhcontrectors. material and equipment suppliers their agents or employees or other persons or entities
performing portions of the Worlr. .

§ res cumulcsuou oF PAYuEurs .'ro commerce

§ 2.6.3.1 The Architect shell review and certify the amounts due the Contrectorsnd shall issue Certit'xcates for
Payment in such amounts The Architect’s certification for payment shell constitute a representation to the Owner,
based on the Architect's evaluation of the'Work as provided in Section 2.6.2 and on the data comprising the
Contmcsocr's Application for Payment, that the Work has progressed lo the point indicated and _t_hat, to the best of the
Architect’s knowledge information and belief, the quality ofthe Woric is in accordance with the Contract
Docum.ents. The foregoing representations are subject (1) to an evaluation of the Work for conformance with the
Contract Documents upon Substantial Compietion, (2) to results of subsequent tests and inspections, (3) no
correction of nnnor deviations from the Contract Documeots prior to completion, and (4) to specific qualifications
expressed by the Archltect. `

§ _2.6._3.2 The issuance of a Cert:tficate for Payrneot shell not be a representation that the Architect has (1) mode

exhaustive or continuous on-slte inspections to check the quality or quantity of the Work, (2) reviewed construction

mem methods, scchniquos, sequences or procedures, (3) reviewed copies of requisitions received from

Subconv:aetors and material suppliers and other data requested by the OWner to substantiate the Contmctor’s right to

FbBYmC::L or (4) ascertained how or for what purpose the Contractor has used money previously paid on account of
e tract Sttm.

§ 2_6.3.3` The Arch.itect shall maintain a record of the Cootractor’s Applicatioos for Payment.

§ 2.6.4 SUBlll'lT`ALS -

§ 2.6.4.1 The Architcct shall review end approve or take other appropriate action upon the Contruetor’s suhmittals
such as Shop Drawings, Product Dnta and Samplea, but oon for the limited propose of checking for conformance
with information given and the design concept expressed in the Contrect Documoots. The Archltect's action shall be
taken with such reasonable promptness as to cause no delay in the Woi'k erin the activities of the Owner, Contractor
or separate oosn'actors. while allot-ring suft]cient lime in the Architect's professional judgment to permit adequate
_review. Revievr of such submittais is not conducted for tlsepm'pose of determining the accuracy and completeness of
other details such ss dimensions and quantities, or for substantiating instructions for installation or performance of
equipment or syslems, all of which restrain the responsibility of the Contractor as required by the Contract
Documenta. The Architect's review shall not constitute approval of safety precautions or, unless otherwise
specifically stated by the Archiusct. of any construction means, methods, techniques sequences or procedures 'i`he
Archltect's approval cf a specific item shall not indicate approval of an assembly of which the item ls a confronent.

§ 2.6.4.2 The Architect shall maintain a record of submittnls and copies of submittals supplied by the Conu~actor in
accordance with the requirements of the Contract Documents. `

§ 2.6.4.3 It` professional doslgn services or certifications by a design professional related to systems materials or
equipment are specifically required of the Contractor by the Contrsct Documeuts. the Arehitect shall spech
appropriate performance and design criteria that such services must satisfy. Shop Drawings and other submittats

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Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 10 of 50

C-5149-14-H

related to the Work designed or certified by the design professional retained by the Contractor shall bearsuch
professionsi‘s written approval when submitted to the Archltect. ’I`he Architect shall be entitled to rely upon the
ede§xsti:y;l§ccuracy and completeness of the services cerdiications or approvals performed by such design

pro ss o s.

§ 2.6.5 CHANGES lN THE WDRK -

§ 2.6.5.1 The Arcbitect shall prepare Chnnge Orders and Construction Chsnge Directives for the Owner’S approval
and execution in accordance with the Conn'nct Documents. The Architect may authorize minor changes in the Work
not involving an adjustment in Contrset Sum or an extension of the Contrsct Tirne which are consistent with the
intent of the Coniract Docurnents. linecessary, the Architect shall prepare, reproduce and distribute Drnwlngs and
Specchations to describe Work to be added deleted or modified ns provided in Section 2.8.2.

§ 2.6.53 Thc Architect shall review properly prepared timely requests by the Owner or Conn'acnorfor changes in the
Work, includingl adjustments to the Conl:ract Sum or Contract Thne. A properly prepared request for s change in the
Work shall be accompanied by sufficient supporting data and information to permit the Architect to make a
reasonable determination without extensive investigation or preparation of sddih‘onal drawings or specifications lt
the Ambitect determines that requested changes in the Work are not materially different from the requirements of
the ContractDocuments, the Archltect may issue an order for aminor change in the Work or recommend to the
Owner that the requested change bo denied.

- § 2.6.5.3 If the Architect determines that implementation of the requested changes would result in a material change
to the Contrsct that may cause an adjustment in the Connact Time or Contract Sum, the Architect shall make a
recommendation to the Owner, who may authodze`t`urther investigation cf such changes Upon such authorization
and based upon information finished by the Contrnctor, if sny,- the Areirltect shall estimate the additional cost and
time that might result horn such change, including any additional costa attributable to aChsnge in Servioes of the
Architect. With the Owner’a npprovai, the Arcblt`ect shall incorporate moss estimates into n Change Order cr other
appropriate documentation for the Owner’s execution or negotiation with the Contrsctor.

§ 2.6.5.4 The Architect shall maintain records relative to changes in the Work.

§ 2.6.6 PROJEC`|' COMPLETlON `

§ 2.6.6.1 The mchitect shall conduct inspections isn determine the date or dates of Substantisl Cornpletion and the
date of final completion shall receive from the Contractor and forward to the Ownen', for the Owner‘s nnvlew end
records. milton matthes and related documents required bytlte ConhnctDocuments and assembled by the
C‘ontrnctor, andshall issue a final Certiiicate for Pnyment based upon a final inspection indicating the Work
complies with the requirements of the Conn'act Documents.

§ 2.6.6.2 ’Ibe Architect's inspection shall be conducted with the Owner's Designatcd Represenmti'se to check
conformance of tb_c Worlr with the requirements of the Contrsct Documents end to verify the accuracy and
completeness of the list submitted by the Conu-actor of Work to be completed or corrected 1

§ 2.6.6.3 When the Worl: is found to be substantially complete the Architect shall inform the Owner aboutthe
balance of the Contract Surn remaining to be paid the Contractor, including any amounts needed to pay for final
completion or correction of the Wodr. _

§2.6.6.4 ’l`be Archltect shall receive from the Conn'actor and forward to the Owner. (l) consent ot` surety or sureties
if troy, to reduction in or partial release of retainage ortho making of final payment and (2) affidB‘VilS.-WPW»
releases and waivers of liens or bonds indemnifying the Owner against liens.

ART|CLE 2.7 FAC|L|`|Y OFERATION BERVICES
§2.7.1 The Architect shall meet with the Owner or the Owner’s Designsted Representative promptly after
Substantial Completion to review the need for facility operation services

§2.7.2 Upon request ot`the Owner, and prior to the expiration of one year from the date of Substsntlal Complotion,
the Atchitect shall conduct n meeting with the Owner end the Owner"s Designated Reprecentatlre to review the
facility operations and performance and to make appropriate recommendations to the Owner.

 

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Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 11 of 50

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n ART|CLE 2.8 SCHEDULE OF SERVICES
§ § 2.8.1 Design and Contract Admiuisl:mtion Scrtrices beyond the following limits shall be provided by the Architect
ss n Chaogn in Sccvices in accordance with Section 1.3.3: ' `
.1 up to Two ( 2 ) reviews of each Shop Drawing, Product Dnto item, sample and similar
submittal of the Conttactor.
.2 up to 'l`wc ( 2 ) visits to the site by the Architect over the duration of the Project during
' constmclion. - '
.3 up to One ( 1 ) inspections for any portion of tito Worit to detemnne whether such portion of
the Worlt is substantially complete in accordance with the requirements of the Ccutrnct Documcots.
.4 up to One ( 1 ) inspections for any portion of theka to determine final completion

§ 2.82 The.following Design ind Contt_'act Admiuisl:ration Services shall be provided by the Architect as a Change
in Scrvices in accordance with Scction 1.3.3:
.1 review of a Conlructor's submittal out of sequence from the submittal schedule agreed to by the
Architect;
.2 responses to the Contractor’s requests for information where such information is available to the
Conl:ractor from a careful study and comparison of the Cono'act Documents, field conditions, other
OWner-provided information, Contrcctor-prepared coordination drawings, or prior Projc_ct
correspondence or documentation;
.3 Change Orders and Construction Change Directives requiring evaluation of proposals, including the
preparation or revision of Inslru).nents of Stn'vice; .
.4 providing consultation concerning replacement of Work resulting from tire or other cause during
construction;
.5 evaluation of an extensive number of claims submitted by the 0wner"s consultants the Co`ntractor or
others in connection with the Work; -
.6 evaluation of substitutions proposed by the Owner‘s consultants cr contractors and making
subsequent revisions to Inst:mments of Service restating mere&om:
,._ .7 preparation of design and documentation for alternate bid or proposal requests proposed by the
' Owncr; or
'- _,) .8 Conl:ract Adminisu'alion Services provided 60 days after the date of Substanlial Completion of the
Work.

 

usc Tne Archuecc stan furnish or provide the following services only it speciaeany designated

 

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Desa'iplion of Servicea. '
{Insert descdpriom Qf the services designated.)
ART|CLE 2.9 MOD|F|CAT|ONS
§ 2.9.1 Modiflcations to thil Standard Form'of Architect's Services: Desigo and Contxact Admiqistzation, it` any, are
as follows:
By its execution, this Stamard,Form of Archltecc’s Services: Desigo and Contract Administratinn and modi£calk>ns
b hereto are incomomced into the wilde Form of Agreemcnt Betwocn the Owuer and Architecl, AIA mcnli
3141-1991 flint WHs entered into by the parties as of the date:
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Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 13 of 50

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.2 up to Ifwg __ ,( L.) visits to th'c site by the Architect over the duration of the Projoct during
construction

.3_ up to Qno_-__( 1___) inepections for any portion of the Work to determine whether such portion of
the Work is substantially complete in accordance with the requirements of the Contract Documents.
.4 up lO QBL.( l_) inspections for any portion of the Worlc to determine final completion

 

 

 

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Coniaot: Dr. Manual Rivera, Deputy Superlntendenl
956-702-5800 or mrivera@pa}a.k12.ix.us

Moroedea Rivera. Secreia`ry 950-702-5800 exi. 1020-

Exe_cutlve Summary of Existlng Buiiding &Site lnspections for
.Memorial Middie School Assessment

We have concluded our assessmentl of the existing buildings and site conditions at this
fenner middle school campus We have established probable costs of construction to
remediate and renovate existing conditions and to construct a new 55,000 square foot
addition. The addition has yet to-be program med,.but is necessary to develop a
middle school that will achieve functional equity with a typical 1000 to 1200 student
middle school campus. Based on this premise, we conclude that the probable cost of
construction to remediate and renovate the existing buildings and provide for the
required new construction is 526,900,000. liecause current 1000 to 1200 student
middle school campuses cost approximately $20,000,000 to construct, we recommend
that the District consider replacing this campus in lieu of renovation. Key factors to
consider when contemplating renovations and additions to this campus are as follows:

> The current Memo:-'ial Micidle- School Campus is approximately 9.5 acres. The
TEA recommended acreage size for a middle school campus of 1000 students is
approximately 30 acres. '

.> Existing room sizes do not meet TEA:reco`mmendations. Renovations to
existing buildings could include comblng classrooms to meet current TEA
recommendations, but would lower the overall number of existing classrooms.

> During the construction period of approximately 12 months, ali current uses
~ must be accommodated in other locations

> Efforts to renovate the existing facilities would exceed the cost of a new
facility of comparable “Equal Faciiitation.”

> il campus _of 1000 students requires approximately 140,000 square feet of
.. building This is..55,000 marathon currently exist at the Memoriai Middie . . --
Schooi campus. Site constraints limit the location for new construction,
parking and other improvements

> Molsture problems are present both inside the buildings and with surface
drainage on site. Six inches of standing water, as seen en a site visit, if not
corrected soon will cause further structural damage to'the facilities Water
leakage from roofs, old windows and doors, as well as HVAC equipment also

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C_ase 7:15-cv-OO465 Document_ 1-14 Filed in TXSD on 11/06/15 Page 16 of 50

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add to the ongoing decay of the facilities

> Costs to remediate the structural components of the buildings are extensivel
Uneven settlement of the foundation has occurred, requiring underpinning.
Ofton times in selective demolition to structure for repairs, unknown
circumstances become apparent that lead to additional demolition than what
was planned. '

> i-iealth issues are of concern due to the roden't :and pileon infestation in the
main building. Professional clean-up of the facilities is needed prior to any
renovation work beginning. '

> The State .of Texas.Historical Commission has guidelines and procedures that
, will need to be followed during any renovation or addition t`o the main
building, a State of .Te)tas registered historic building. Careful coordination
with the State agency is a must.

Below is a summary of the site inspections performed by various consultants This
summary is intended as a broad overview of the reports submitted by tha consultants;
refer to each individual consultants report for detaiis, recommendations and further
inforn'iation. '_ '

The existing M_omorial Middle School site is approximately 9.5 acres located at 714 E.
Highway U. S. 83 in Fharr, Texas. The subject-property consists of the Main buildings a
Cafeteria building, a Classroom Annex l building, a Ciassroom Annex | building, a
Gymriasium, a Dressing Room building, Fiel'd Locker Roorn building, Stambaugh
building, Taxtbook Department building and iandscaped areas and parking lots. The
school was originally constructed in 1915 and subsequently remodeled with additions
added in 1976 and 1986. The school contains approximately 85,202 square feet of
floor area. --

ERO international and our consultants have conducted site visits and researched
building, site and code lssues. The City of Pharr Building Code (2003 lBC) and Texas
Accessibility Standards will apply to future renovations or additions to the campus.

v ` ` & s le d ti
Key repairs needed in the near term include reroofing, asphalt paving, re»pointing and
caulkini of exterior walls, replacement of windows and doors, environmental
remediation,' accessibility improvements life safety improvements and fire
suppression system, as well as electrical, plumbing and mechanical upgrades.
lnfestation of rodents,lpigeons and faces were reported in the main building. Proper
safety measures should be taken to rernove, clean up and inhibit future infesta'tion.

lf existing buildings are to be renovated for middle school use, the buildings would
need major transformations. The main building would likely require evisceration of
interior components so structural repairs could be made to the foundation, subflooring
and walls. Demolition of the Field Lociter Roorn building is recommended, as the
structure is compromised and repair costs are greater than replacement costs.

Page 2 of 4

 

 

Case 7:15-cv-OO465 Document 1_-14 Filed in TXSD on 11/06/15 Page 17 of 50

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C-5149-14-H

Recommended site improvements include replacement of deteriorated asphalt paving,
additional parking spaces, site lighting and sidewalk improvements Standing water
under the buildings was reported during one site visit and other drainage concerns
were noted. The moisture problems have led to serious"damage of structural
components in the main building. l

New construction at the site should accommodate approximato 55-,000 square feet of
building to house classrooms, restrooms, administration, nurse's station, teacher's

lounge, as well as mechanical and ancillary sp_aces.

- G e ic .
Raba itistner Consultants, lnc. is providing a subsurface exploration and Geotechnical
Evaluation at the site. The soils information will aid the structural engineer in
evaluating the foundation stabilization recommendation, as welles determine the
foundation requirements for new construction on the campus. This information will be
provided as soon as it is available. '

foundation § St[uc§ug
With the exception of the Stambaugh lBuilding and the old Band Hall Building, the

structural systems seem to be functioning adequately. Th_e Star`nbaugh and Band l-lall
buildings will require some underpinning of the perimeter foundation beams and some
additional pntchwork to the foundation skirt curbing.

i n -
H'alff Associates, Inc., has performed afield investigation to observe the drainage
conditions and will produce a topographic survey. This information will be provided as
soon as it is available.

t .
Terminix conducted a visible and accessible walk-through inspection .of both the
interior and exterior of the facilities and observed termite activity in subterranean
areas with existing damage to the building. Terminix is recommending a liquid
Termidor treatment as well as a combination of trenching, irrigating and drilling &-
redding techniques The price for treatment is 521,162.00, with an annual
maintenance fee of $3,396.00. Also noted is infested of pigeons, rodents and faces
that will require trained personnel with proper safety equipment for cleanup.

a
During our site visits, we noticed that potential asbestos-containing materials were
found in the building and are typical of buildings of this age. Thes_e potential
asbestos-containing materials include joint compoun'd. flooring, floor mastics, wall
texture, ceiling ti les, and possibly other items not accessible for easy viewing during
our site visit. Due to this potential, it is_recommended that a full asbestos survey of

- ~the-existlng'-buildlngs be-completed-at the time PSJA |SD moves forward with plans-to - - - - - -
renovate existing buildings on campus, as part the An:hitectural and Engineering
design team. A licensed professional shall conduct.an asbestos survey and collect
samples of wall texture, joint compound, ceiling texture, sheet flooring and floor
mastics or otherl materials suspected to test positive for asbestos content. The work
should include identification of asbestos~containing materiai square footages and a
proposal for preparation of abatement specifications, contractor pre-bid meeting,

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Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 18 of 50

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abatement contractor selection,; consultation with lTexas Department of State HeaithE
Services, baseline air samples, air monitoring services, and generation of the'final air
moinlt;i_i;_in§ zreport' s. For more detailed information, see “Asbestos Procedures” at the
en o a . '

Lea n c

During renovation eiforts, portions of the interior and exterior painted surfaces may
require “signiflcant abrasion" prior to modifying the building for reuse. Due to the
age of the building and the known past renovations)‘additions, it is recommended that
a full Lead Paint survey be conducted at the time PSJA iSD moves forward with plans
to renovate existing buildings .on =campus, as part the:Architectural and Engineering
design team. 'Samples should be taken and tested based on the HUD standards for
LBP, which is 0.596 by weight, or equivalent to 5 ;O'Oi`J` ppm.

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A visual assessment for mold was done of the walls, ceilings, floors and windows that
were readily accessible during our site visits. .C.ontin uous moisture problems were seen
and reported by staff .’ Elevated'mold concentrations in indoor environments occur
when both moisture and food source are present. indoor food sources for mold growth
can include organic materials such as those resulting from flood or sewer back-up, . or
building.materials high on cellulose such-as carpet backing, drywall paper or ceiling
paneis. Moistur_e' sources in buildings_can occur as a resultl _of leaks from water or
sewer lines, moisture intrusion through roofs, windows, walls and foundations or as
condensation in HVAC systems. Standing water under portables and multiple moisture
problems caused by courtyard fiooding, moisture on the floor of the counselor’s office
and Af€ condensate line leaks cause concern for the potential for mold gmwth‘. We
recommended that a full Mold Assessment survey be conducted at the time PSJA iSD
moves forward with plans to renovate existing buildings on campus, as part the
Architectural and Engineeri_ng design team. Removal of associated building materials
that are above the regulated quantities need to be accomplished by a trained and
licensed mold contractor. Areas of concern within-the facility that fall below the
regulated quantities by the State and may be removed by a general contractor or
maintenance personnel. However,'we recommend that remediation be accomplished '
under the control of a trained and licensed-mold contractor.

' ir
iiey repair costs should be allocated to cover the costs of reroofing, asphalt paving, re-
pointing and caulking of exterior walls, replacement of windows and doors,
environmental remediation, accessibility improvements, life safely improvements and
fire suppression system, as well as electrical,` plumbing'and mechanical upgrades.
Additional items are in need of repair and have been identified A full breakdown of
probable costs is provided in section eight (8)' of this'document. The future use of the
main building manl also impact the cost needed for repairs. A probable cost of

-- '$26-,--908-,834--is~ anticipatedi However,~further investigation-may uncover unknown '

items to be addressed.

Page4of4

 

 

Case 7:15_-cv-OO465 Document _1-14 Filed in TXSD on 11/06/15 Page 19 of 50

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Memorla| Nliddle School- Addltion» & Renovat|ons "

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Case 7:15-cv-00465 Document 1-14 Filed in TXS_D on 11/06/15 Page 20 of 50

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Case 7:15-cv-00465 Document 1-14 Filed in TXSD on 11/06/15 Page 21 of 50

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-Memorla| M|ddle School - Add|_tio'ns & Renovattons"
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Page 3 of 5

 

Case 7:15-cv-00465 Document 1-14 Filed in TXSD on 11/06/15 Page 22 of 50

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Case 7:15-cv-00465 Document 1-14 Filed in TXSD on 11/06/15 Page 23 of 50

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C-5149- 14- H
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Case 7:15-cv-00465 Document 1-14 Filed in TXSD on 11/06/15 Page 24 of 50 _

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Page 1 of4

 

Case 7:15-cv-00465 Document 1-14 Filed in TXSD on 11/06/15 Page 25 of 50

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Memerlsi Middis School Main Bulidlng - Additions &' Renovatlons

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Page~2 of 4

 

Case 7:15-cv-OO465 Docu_ment 1-14 Filed in TXSD on 11/06/15 Page 26 of 50

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Memoriai Middle School Main Bu`lid_ing - Additions & Reno\/fitions

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Page 3 of 4

 

Case 7:15-cy-00465 Document 1-14 Filed in TX_SD on 11/06/15 Page 27 of 50

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Case 7:15-cv-00465 Document 1-14 Filed in TXSD on 11/06_/15 Page 28 of 50

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Case 7:15-cv-00455 Document 1-14 Filed in TXSD on 11/06/15 Page 29 of _50

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Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 30 of 50

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Camhos,_.-an;As$`l$taht Super`tnt`e`h`dent of PSJA ISD, during his dn»_js`.i_t'e_:lnspectlon_-‘.;

 

   

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Case 7:15-cv-OO465 D_ocument 1-14 Filed in TXSD on 11/06/15 Page 31 of 50

C-5149-14-H

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Qt’)i~i`ci_usioiiie _
- iii@‘§ii'” `i‘i¢i* W§W §W’ii rifTi,..>.. .il`i?i‘§ §§ ii "
1. D_emoiit'ion was.~'s`iip‘bdsed to..be .Iii't"iitetl to .the~e-conn"e:cting'~’structures between `ti'ie
maln?' building and-z'lhe detache`d‘,i§lassroom building,s.;et;~,tii_e eastland west ends of '~tl'ie-
mein".buliding and-,wes'~not'-intended toit_`i`iciude any‘pdi"t't'o'r_i;s of thef:i‘n_a`ln or detached
earnings themselves ` '

         

_'i.>.~, _Coi|epse_-ot}'ti`ie:eaet we,ll;:ot.tiie:=main building abovo:fiii_eri_i'r;ei iloorendthe,ooiledse of
:the`se_¢;_o_r_id' floor gridroo_f imm the eeo`t~end cfftiJe-. main building `iiiié'stwer.d"t`o column
;llne 151 were results of the demolition means and methods used by the demolition
contractor t`o ramirez the connectan structure between the main `b'L'lild|ng a'n'cl .e"eet
det§chie"d cléssroom buildin`g. Thle desonbed area of oollaiisa was outside the
intended climits of. demolition .,Pr'e~e)`cistlr'ig conditions and th`e_- design grid
'od`r"istruction{“dt'-'tl_li`é':-originel_'= building may have lr_-iilu'e'ndii`i'd'- .t'ii,e=oqiiaps.e.

SL Cracii|ng In- masonry co|uiiins at the north and south sides of the exit at the west éiid
of' the.,,ma`in; =,i:i.iiii'diiig- and movement lol’ the brick lyi`_a¢r__ie;_er et- the west end of_ the
building are likely results of demolition means and methodsi`~ used by the demolition
contractor P're-exleting conditions and design and construction features of the main
ibulldin`g' r'n`a.y :iia"ve contributed Thi`s damaged area Wee outside the lnte_’iided limits

ot demolition

4_. ,Gfb_se'rved exposure of reinforcing steeli in"baeement"col’umne in column lines 3 and'?-
.is not a result .o,l_i demolition work performed by the demolition contractor on the
connecting structures and is not associated with lite partial collapse of the main

.puiidii_ig-. _

 

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J_Bniiery 21. 2011
RCG File No.1_54528

 

 

Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 32 of 50
C-5149-14-H
§ection Ill

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ji-.»iiii§siii risi““i‘“

 
  

.? '-'

f . . ‘l::::rili.?vi,e,)"\ i' H§WMY :

G_e_nerelf.l)escriptlbn end »H|l'tory .

   
   

'1:1‘._\?.; malli_rib_uilding -con'tained;e basement pl_uje‘two additiona|.: floors (Ptiotogr'aphs.'t
through 5 in Atte_cti_merit", A)._ f’F`or purposes of-~dle‘cus_tilti>"h tn this 'r.ep`di't=, the 'fro`rit
elevations facing `Bi`-'i"éi'in§ds"s` Hl§;hway 83', was referenced-to face north` The¢`s_tructural_
"fr’artie of the riiaii‘i buildii*i`g"-.wds=of.ielnfdrded""concrete, with load-bearing `élay tile block
lj~ti`l`e`ils"'nt the ..eaet rand west ends of -'the"'butldln'g.~ E>itert‘.{‘)"i""'wails:"`are faced with brick
ivehe"`e'i"'.-.' "l.’h"'e drawing titled "Schorr`ietic Fioor P|en w`ltt`.i` Apii'ro)i`lmate'iijljirriensions." lin
Attachmeitt §§ _s_t'lows jtt_i`e locations of the co_i_umns_ end .'b__e_dms o_r_i't_he iitet floor~.which
support the second tl_oor_. The locations of the columns supporting lite first floor and the
lr'or.if were in the same relative locations. interior dividing walls lied been lremoved prior
lie-bur ln'spection. end debris from:ttie.co|lapse.had been_.removed.

'The site contained three detached buildings in addition to the main building.~ Claseroom

\bui|ding_s~`had `,be'eii"-:eoi*istruoted at the east and west sides of the.mein bullding, with

gaps of- appw)timateiy-' 16 feet between the m`é|n building la`r`»id the classroom buildingsl
- rA~i|bi‘a'l‘y' bulldlng':it.'ae~tottet'edi"atjthe rear ot-the main building

‘Mi_'. Rone. ¢ampoe. en 'Assieta nt Superinte,r,id'e_,rit. with ;-PSiiill-~'iSD. providedj-the-tollowi`_ng
ilnf_ormatt_qn:regerd_i_q_g;rthe.p'roperly:

o_ The main building was constructed in 1915. Hé"' believes the east and west
classroom bdit`dings were constructed in 1921 orj1926. -Hei._do'es not know ,_when
the library building was-§ constructed

_ ~ Encleeed" walkways or connectors‘..=between the.rnei,n building and the east and
west ciaseijo'om' buildings had been constructed ~at sometime l'n the past.

 

.January 21. 2011 ' n d f lH"Piaiiej`f§
:_R_ce i=.ii_e_ i~_'t_i_)'. 154526 .

 

Case 7:15-cv-00465 Document 1-14 Filed in TXSD on 11/06/15 Page 33 0150

C-5149-14-H

w 'j?i,h_e~'demoij"tt]oncontractor t`ji-tex_ajs beecbrij),ha'ct;ren‘iov_eci"t_hje"Walkway-§structum at-
tlie_ ,_w_est side of_ the main building He doest:njo:t§ know what equipment dr
techniques were used by'the'-contractorjduring that work_..

.~ ' i_-le believes tt'jt_e contractor was using a iackhamrnerto separate a beam at the
walkway at the east side of jtjjh_e main building when the east waj_ijl and portidns of
_ the second tidoi.and.root at tjjijije east sldej_-o`f_. itije_ main building collapsed

'Aoébrtding to`Mr: ~l§ey"rialdo S,ant’:hez, PS'£|A :.lSD Constitti'ctloil 'Maria”ger,' lite enclosed
walkways a't the'. :"’é`et end west ends oi" `the main building had been 'of= 2*story
construction They- have noticed some damage to the brick a"nd tile block wall at the
west end ot the main building since the collapse `a't the east end of the .buiijding. M`r.
Sanch'e2_=_alsc reported that the lacks supporting the first and_secjond floors and the roof
have »been-,_tr_'i`e'talied since'.;the ~eo'iiapse.

.Obsei‘v'atloi"l`c

observations .niade;:durin`g`j cur-ion¢'eite' inspection are eumn'ii':.lrjizjed,jt`)'e'idw. `-Pho_togrjaph's
referenced ln-jthe text jlre`. contained in Attachrnent A.

. interior dividing nails had been removed in inv:,'bas'einhni `iirsi noon and second
'tioor exposing the~concrete structural system of itii`a_.‘-'- building (Plto`tograpjt_is 6, 7,
j'_'a'__nd 8). St_ee'i lacks had bean installed onj all levels of the main building

j~‘: §Ve'rti'jcel_ re,l'niorcing steel was visible in basement coiur_n_r.i_s-'ln_~"gol`umn ilnejs' 3j end
7 (i=herjegrapijis 's'j ana 10).

o The second floor and roofi had collapsed between the. east end of the main
:buildin'gljajnd column line 1 as had most of the east wall olj lh'je_ijj building above the
level of the tlrsjtileorj- j_(lj’hotog_raphs -2~` and 11).

:.Ji?inunry 2t 20__‘_i `
RCG .Fl|e` No l1`54526

 
 

 

 

 

Case 7:15-cv-_OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 34 of 50

c-514e-14-H

-.-. jA-'<:"r)'n€.r._éte.l>.ii§if.l$¥ had bee'lif.i?`lacedf§cn'ftha-S`€C¢?lldifl®i`al SO.W.B lime l"'ihE-ipast

.-' jP.i'eces; or masonry were attached .to_'~ the ju_nd‘ersiajeje.jor the east ends er ina
collapsed roof evilse.rir'ind'~iio'_rir.slabr::iltiioibar_aph¢'1‘4.1`6', and 16`).; .

._~i- inspection etithe=.wesi:end';oi?§tll§§'maji,n '_hju`lld|r`ijg_lndl`r.ja_ted-'tiid_"i‘-¢P'l¢!et,.° °°'"m“S'Bt
thej_,¢.;jsjljc'laa' o_f""the' west exit ended near §jt“he' `levjell.q_i'.jjthe` ilrst"`tloor, with masonry
columnje_$.e_x`tgnding above-that level -(Photogr'aph; 17) We'obsjerved cracking in
the masonry zc_o_lar_nr.'is on both sides 0_f the airli; a_jb_ove tile first-ii<j`)_or.= zlevel.

' Concrete columns had paen','inst‘allejcl at-the axt§l.‘l_'tir"ol'ti-`i`e ijlaln buildingj for~'-'the
walkwaj'.Y*(Pho.'tb];`rajph '1 8).

~' Concrete headetsi B‘{P.Pfirtad by load»bee'r`in`glmasenty, were installed-above the `
Wlndow_s 'a`t ~ihe.i.¢wa$t.~end 'of `tiila building (Photograr$h` '1'9),

~- "i_'.hejr"e'."wa`s evidence joj_l§-;niovemjent o_f: the brick veneer on the ilrst .iloor at the
northern porllch"ol' th,e `-leestj :w;ali of the main"hu`|idlng (Photograph 2`0).

Analyslii

.Mrt Camp_os, of F§Jj‘£ij|$j_i)_, providedilernkus with a.QOPV ?l:.§il;hll.giri¢gl_'nq..[_epurt on'til.é
ibullri,!ng':jprepagjejd§ by =i~.“ranl<j. Lrji_rrji=j&~i°issociaiee, inc.. C.orjijsul'tlng Eng‘inequs (L_arrji)-, erie
datad`="détohj§r' 1_8, 2010... information and conclusions ~6onlain`éd l`n that report ate
jsumn‘iarized`beiow_: n

-»' _‘l'he report 's`tatee ih"jat; they visited the -site on Sebtember 22, 2010. a"nd on
Ootoija'i°'S'.--ZO‘IO.

ii The repair harris that '-irii:iy reviewejaj' the De'miiiiti'ijiiji "nravinge 'e‘nd`=" ;Niites_-
prepared by ~'EROfArch'_l`teets dated 'Feb'rua`ry 24, 201-0~.j *The report stated that the
proposed demolition _ljrji__\rg_l_v_e_d- th'e connecting structures -'.between the main

   
   

birnv=iii.<z`i..z`ciii

RCG' i'-`:|llltl Nl:i'[ .154526

 

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Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 35 of 50

C-5149-14-H

:hjulltijijrtg. and the detached classroom structures and included ti_i'ej concrete slabs
~o`f the second iloor and rooi. concrete colujm_njsj jajjgjainjsjt the mal_n~j' building and the
detached structures a__nd the two levels.of,tle.,bearjrjisj_.t_)ejtwsjéhj_jthe. c'jol_uihn`.'s The
' report stated that the limit ci demollilhhi§toppjed‘;,-jijrji:t;'~.ilhe face j'jojf .the'~,'jej)tlerlor~v.“v°éils
of the main building end detached-structures l

S°-”-°"*""~“"°`"*°Q’ip“$ "`" lie report remitted .a idle awol-bears win ibt
.'j'mpapt cnl-Pbmg hammer Pa"'.‘?§ .n°j,ar tile northea§l;.cornsr=oi'theimain building ejt
l-*“.’little'"i¢iiihsi¢araphs<wqge,iaken;j.

. The'y"‘"dbsériiédfcracking. in the`majsonry.:eoiujjrnns. at the exit fort the--westfsldei of
ineirli"eijr'ifiij'jiiiiding.

iv 'T-he itsporl-- stated that the connecting structures bejtjwj'ee`n the rhein building ’ahd
'thjé c|aj§js`rjoom structures ware supported by ,ejrjastj-ljn-piaoa' concrete columns
=riou'rjed‘-"a'gairi'éi.tiie existingij“nieson‘r,y-.co\umna iii'tr.ib ’e$rite far trier end walls or tire
rinai,l§'i"bull'dlh'§: The' re'por‘t's'l'etes that theriot-were rio ehbdnslon joints between the
".§)'ilsjtlhgimasonry cclu`rnn`s andi`lth'e'~ new exterior concrete cditiinns'.and'that-these

'~` The rer'_)ort stated that there was no concrete or reinforcement inside the masonry
columns el;`.`tl;i_e. ends-` of the rnjairi building

s The report stated that ari=appro)`<imetely 12-foot-by‘160-toot section of-ths i'c`.o`f and
second iiddi'-'-~:`df. ;the main building had collapsed'».~durlngj 'jth'e demolition of the
struciuie,con'neciing the main bulletiig.with ihe,easjt-.crasroom' building

i¢. Thje report states that it is their opinion that the collapse of the structure was
caused by demolition means and methods and was possibly affected by. pre~
existing conditions-and by the design and construction of the original building.

 

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,RCG Fll'e NO 1_154526

 

Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 36 of 50

C-5149-14-H

ll)ir-.- Siave;L-arnmonsji oi-.Unlvarsal Cl'a_ljjrns.e'j`$_erjvices. lnc.. _prc._vi‘jdjej"d Rimitu's with copies oi
Pli°fOB.erhS‘-he took atf-the si,te'prlojr to _the removal:.oi'ruii`hle" 'tcorj,jn_-tha.;coliab`se.

-According t`o thje Larn repo°r"t, danibl|tlon wbr.k:.ftjiértorr`nsd by'-thé'§ lccntractor¢:was. to
include the connecting jstjji§`djctu"ras between the main buildiiijg` and the detached
cia_as'i.d'om j'bu,ildi'rj_igs ai“.'tlia"‘e"ast' and'WEst":dnd of..ibcl rha`il`i` building', "an'di?th'e limit ot
demolition ltiiasllic .s'toti?,at§the -_iéci=.fe"--.ci=`-t`hej main b`uiidihgj§&nd'tha detached structures
.`[hlsf. des"drlptioii' Is.-.- icbhs'ista'tit`w'ith |nformatlnit-= provid'b'd by -Nli'..l ~`C‘ampos, and Mr-.
Sai.tché'z_oi" PSJA -'iSB. =Based ~ cit this Infofrrta'tio'n, we r con_ciuiied::'that" demolition was
supposed to be iimited..-to thell oortn'ecling`-`-structures" between the ,malh-' building and the
detached classroombuildings_at..the east and west '_ends"§~of the main building bind was
nof?.ihtended to include any portions of the mal`n.ondetached buildings themselves

Coiiajjpse ot the east wall 'o'i the main building above the first ticor and the collapse of the
second floor and roof front the east end oi :thje main building westward to:`~ column iji`ne 1
'_were'. results of the demolition means and methods used by the demolition contractor to
remove the connecting structure between the main. building and east detached
classroom building This areaj cf collapse was jcutside'tlie intended limit of demolition
`Pre- -existing conditions and the design and construction of the original buildings jrnajy
have influenced lite collapse Pre-e>tistlng conditions 'jthal may have influenced =_th'e`
collapse inciudje_j the weight ofj thje concrete overlay ocean/ed cnj the second ;ilo'or,
bonding together of the original masonry columns and the new e)'tte'rior. concrete '
columns fo'r the connecting structiires. and breaking or- spaiti`ng ci the clay t_l|_`e blocks
brief t’o the collapse F.eatu‘res' bfi the design end construction oi- tha original building
tt`t`at may have influenced the' lcollapse include the use of load'»b.earing exterior walls to
support the ends§ ,of concrete beams and slabs, the reported absence of any
teinioj`r-_t`:b_it'ient in '-the masonry coininns, and the absbncs' ct sufficient connections
between the ioadlbearinjg'.waiis.`a"iid the supported concrete structural elements

cracking in masonry columns at the north and south sides .o'i the exit atj the west and of

the main building and movement ci the brick veneer at jthe west snd- ci the building are

 

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Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 37 of 50

c-5149-14-H ‘

likely resultd"'bf dq.rr`_`_o`_¢lithn magnile Wh'.iuqnd;h§¢;d¥§¥adh\o!|!ldn nonimch .P.f`%-~

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.cjonmbuwd.-: we 'wioulu .exp¢e: msi-same demotions-means an'_d mmqu .u»ad.~=:pt ina

i‘eaar ena.‘o‘nhe mih~building 10 have hamm al_.me;w§o¢.eh€a..d.fefh¢ MN¢M`¢~ 'This
` '.pammd_ afbg.m,as'outslde~o'f..;m¢ lui'emad~um_u o`¢`uamoiiign.-i ~

'Qbaqmd=~equnu're.:ofreili'fo`_rql_ri'\g'-st`e_el__|i_\ ii`l;!_;l_qu§i\`lf:-"colpmns.:_|l!;,§§_l“fr'"-;ii"“`ia and 7 h
,;D_Q‘g_ al mun ¢¢f:g¢m|iup,j£ggg ¢_1¢ ;pg}fnmd_.'py.;{fjg ._gg¢mlltlpn contractor on~»th.er.popnec\ing
-'_s't_m¢r'uras:and=ls m__>;.;gppqqazad wm_\ -m@pqm;'l"collapse ot.me;r'¢j\_din;bull¢lqg;.

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Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 38 of 50

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1 ‘Ap oq-sire.-flnspaclipn drum PSJA lSD schad vvl!ding.w.as ve.ff¢">"v¢d br M'-i zBf"°»..»‘
.L._ Mdni§; P.E_., pn=di'anuqry=`j`:d`, 20`1'1.

:'2. Meds\'ii'brrfeht_§ iféhd; ibiidiogmp¥is vjére taken_ by~ Mr.-l B_f`uc`é L. Mo'n`is,- P.Ety;?'oni
'J§nu§fy_ 18, _201,1';

3 M'r Rena¢Oampos, -_gn_ Assiat_am Superlnte¢jdant of FS.|L §lSD and Mr Reynaldo
.;Ssnd\ez Constructlm M_§r_\a'qgr. fo_r PSJA lSD. wena i_htand_ewa¢_l on Ja_nuary ~‘l"B.

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141 we_ mququ pri;mog;ap¢w§xngg§_ q,n rapan '1'8. §201;1_.'.'¢'111,1§1_`1‘1';1 fha '1nsbectjon or me
school vundm§-.

=,`§5. We reviewed an=;.br'rgi_rie_i;i_'ihg report _pr_§pdii,§dt` by Frank';\:am &' 'A§soc_iatos, lnc..
'-conaumnjg'_-.Enqqnpvrs,..and'damdioctover.1e.\201_o...

:6_. We rejde pHolbgraphs. provided 1to lekus;by.lM'r`. Ste_ve Lem'r_mns <_sf Unlv§rpa|

 

 

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Case 7:15-cv-00465 Document 1-14 Filed in TXSD on 11/06/15 Page 39 of 50

C-5149-14-H

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.B_§_ `Drawimg.

 
 

     
 

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Case 7:15-cv-00465 Document 1-14 Filed in TXSD on 11/06/_15 Page 40 of 50

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Am\cHMENT_A

 

Photographs

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»Invsqilgnuon which are nat I'ndudsd ln this 111111111.- ah maide du files ind am
hvn`dablo iq y_o;_] hpon re9uea't.

  

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ama » _
ace Fu¢ no. 1515_211

 

Case 7:15-cv-00465 Document 1-14 Filed in TXSD on 11/06/15 Page 41 of 50

C-5149-14-H

Photograph 1
Frc`r"\`f (n'o"rth) e`lev'at|d'n of. maln bullding, 1001th soui_h_.

  
  

_1_'
.--r-\

Photogr§ph 2
East e|e'vmlqn df. ma`l"n bulld|`ng, lo_ok`|hg_ soum,-

 

 

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Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 42 of 50

C-5149-14-Hl

mwa'raph.>-$ `__ _ .. . . . .. - -. 1
wasl'ialévat`lbn"of méiir'i bul|'dH`-'.fg Wiih i§`£__u_?!ié|~`,ho`cth -'elpvation?szf west c|_é_ssroom-_bglld|ng»
___gnd'-:g_ap hei`v_.»jean:b§[i_lqings,_ loq|c|nqj'_sdp_th. -

     
  

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.iRearfisgnuth):.qlgyatlon:-qf_-main_ b;i!|d!ng wltli~=northeq_s§ gpmar-pi library, looking w§st».-.-

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Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 43 of 50

C-5149-14-H

'Rho't`ograph 5
North eléva`ilon of easl. classroom building‘ lookln'g` southeast

 

 

Photo ra hG _ _ _
Northv\(gestppgrtion o_f basement with exposed columns ~,and beams', wlth supporting

jacks..

 

 

 

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RCG Fl_le No.154525

 

Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 44 of 50

C-5149-14-H

‘Photogra_n`h_?j _ .
Fffét` hour wlth_exposed concret¢ijcd_l.umn's-and.beoms;-:lool_tlan;_east.

  
  

Photo‘ ra h-.-& .. . . .. ' ' - . 1
Secong f|:oi:.with expos"ed concrete columns and"l:_iearns-; with supporting tacks, looking
east

-!

=:.»wir-'~.i.:¢z_¢$‘-_=f-P_.lr.t:i:;fw)~§, `
Januory 21.2|111
nco Fue,.z~lo._ 164526

 

Case 7:15-cv-OO465 Document 1-14 Filed in TXSD on 11/06/15 Page 45 of 50

C-5149-14-H

wongth s
E_npose'd_ reinforcan steel at a basement column ln og:‘rlumn line 2.'

 

P_hotogra`ph 10
E)rpos_ed ralnfo'rcln'g_ steel at a basement column in column line 3_.

 

__ » _ _' __` "”_"_"MML::;#" Walo,..twwloti " lw…“l
_anu org 2.1- 22111§
Fel No t§§62$

 

Case 7:15-cv-00465 Document 1-14 Filed in TXSD on 11/06/15 Page 46 of 50

C-5149-14-H

Pti_c`rtogrop_t_t_ 1.1
Coltapaod root and éecohd tlo"o'l’- §t-iriost _or-i&_ of main butldi_ng, look`lng north

 

.Photo ra h‘l2 __ _ _4 .
Concr:ta l:)vtar_t_:ay et north 'portlor'\ ;of the ~_seco‘nd_ lter zor th_e east end- of the main
butldl`ng.

    

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w.@£’il§%”“d "@Pi,m liié'i`-'i &kw""'

 

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Case 7:15-cv-00465 Document 1-14 Filed in TXSD on 11/06/15 Page 47 of 50

C-5149-14-H

photograph 13 . __ ,. . .. . ._ -
=§Concretei ovoitay"sat':-soutni portion of the ;se_cond; iiQo,i'.-‘_Pt' thefst .°!id '-.Qf the ma'"
bundmg.. ` '

 

 

`1.Pltotograph 14 _ .
_=Plooes of masonry ottsched to east_§_t_end_ of collapsed root sisti.

  
 

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an_u f___l¥?l fZGli’lr __
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" r__gm€~.»%t‘ot

   

 

Case 7:15-cv-00465 Document 1-14 Filed in TXSD on 11/06/15 Page 48 of 50

C-5149-14-H

photograph 15
Pl_ooo_s of masonry attained to underside o_f_ east o__r_ld dot ooiqosed root §le

 

_P_ho_t:o`graph _1_._8'_ . __ l _
Plooes of masonry attached to underside of east end of_c-_:ollap__sed second _t_lo_or slab.

 

 

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Case 7:15-cv-00465 Document 1-14 Filed in TXSD on 11/06/15 Page 49 of 50

C-5149-~14-H

  
  

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\'Conor`etd"doldinn'=from basement o_`r_t_fio qtf'-flrst`¢tlo_or :t§ggi; l_t;.-'ggr;ll_ra_`n<:o on west ends of
building_, with masonry column obov§;t`_ttrst¢ltoot"level-,`_._wlth-;oxtortor- column _for watkway,.

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Case 7:15-cvj00465 Document 1-14 Filed in TXSD on 11/06/15 Page 50 of 50

C-5149-14-H

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'V`lew§ of- oxterto.r coll't'ntns;¢for.-._\_ls'/_aik_\lll`éyi-at';wes_t:d,_e_'n_d;of;ma]n bulldlnq.rlookll_ig 804 _ s

 

 

